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            1    DEBORAH L. STEIN (SBN 224570)
                  DStein@gibsondunn.com
            2    MICHAEL H. DORE (SBN 227442)
                  MDore@gibsondunn.com
            3    GIBSON, DUNN & CRUTCHER LLP
                 333 South Grand Avenue
            4    Los Angeles, CA 90071-3197
                 Telephone: (213) 229-7164
            5    Facsimile: (213) 229-6164
            6    ORIN SNYDER (pro hac vice application forthcoming)
                  OSnyder@gibsondunn.com
            7    GIBSON, DUNN & CRUTCHER LLP
                 200 Park Avenue
            8    New York, NY 10166-0193
                 Telephone: (212) 351-2400
            9    Facsimile: (212) 351-6335
          10     GRETA B. WILLIAMS (SBN 267695)
                  GBWilliams@gibsondunn.com
          11     GIBSON, DUNN & CRUTCHER LLP
                 1050 Connecticut Avenue, N.W.
          12     Washington, D.C. 20036-5306
                 Telephone: (202) 887-3745
          13     Facsimile: (202) 530-4230
          14     Attorneys for Defendants Rosette Pambakian
                 and Sean Rad
          15
                                     UNITED STATES DISTRICT COURT
          16
                                    CENTRAL DISTRICT OF CALIFORNIA
          17
                 GREG BLATT,                              Case No. 2:19-CV-07046-MWF-FFM
          18
                                                          Hon. Michael W. Fitzgerald
          19                       Plaintiff,
                                                          DEFENDANTS’ NOTICE OF
          20           v.                                 SPECIAL MOTION TO STRIKE
                                                          AND SPECIAL MOTION TO
          21     ROSETTE PAMBAKIAN and SEAN               STRIKE PLAINTIFF’S FIRST
                 RAD; and DOES 1-10, inclusive;           AMENDED COMPLAINT
          22                                              (PURSUANT TO CAL. CODE CIV.
                                   Defendants.            PROC. § 425.16)
          23
                                                          Hearing Date: November 4, 2019
          24                                              Hearing Time: 10:00 a.m.
                                                          Courtroom:    5A
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP        DEFENDANTS’ NOTICE OF SPECIAL MOTION AND SPECIAL MOTION TO STRIKE
                                      CASE NO. 2:19-CV-07046-MWF-FFM
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 1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2         Please take notice that on November 4, 2019, in Courtroom 5A of the above-
 3   captioned court, located at 350 West First Street, Los Angeles, California 90012, at
 4   10:00 a.m. or as soon thereafter as may be heard, Defendants Rosette Pambakian and
 5   Sean Rad (together, “Defendants”) will, and hereby do, move this Court pursuant to
 6   California Code of Civil Procedure section 425.16 for an order (1) striking Plaintiff
 7   Greg Blatt’s (“Plaintiff’s”) First Amended Complaint (“FAC”) in its entirety, and each
 8   individual claim referenced therein; and also (2) requiring Plaintiff to pay the costs of
 9   bringing this motion—including Defendants’ reasonable attorneys’ fees—as provided
10   for under section 425.16(c) of the California Code of Civil Procedure.
11         This Special Motion to Strike Plaintiff’s FAC (“Anti-SLAPP Motion”) is made
12   on the grounds that (1) all of the claims alleged in Plaintiff’s FAC arise from activity
13   that is protected under Cal. Code Civ. Proc. §§ 425.16(e)(2) and/or (e)(3), and (2)
14   Plaintiff cannot demonstrate a reasonable probability of prevailing on his claims.
15         Defendants’ Anti-SLAPP Motion is based on this Notice of Motion and Motion;
16   the attached Memorandum of Points and Authorities; the concurrently-filed Request
17   for Judicial Notice; all papers, pleadings, and evidence currently on file in this case;
18   and any additional papers, arguments, and/or evidence as may be filed or presented
19   before or at the hearing on this matter.
20         This Motion is made following a conference of counsel pursuant to L.R. 7-3,
21   which took place on September 30, 2019.
22
23    Dated: October 7, 2019                      GIBSON, DUNN & CRUTCHER LLP

24                                                By: /s/ Deborah L. Stein
25                                                   Deborah L. Stein

26                                                Attorneys for Defendants Rosette
27                                                Pambakian and Sean Rad

28

         DEFENDANTS’ NOTICE OF SPECIAL MOTION AND SPECIAL MOTION TO STRIKE
                           CASE NO. 2:19-CV-07046-MWF-FFM
